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                                  8358
                     UNITED STATES COURT OF APPEALS
                                                                           FILED
                             FOR THE NINTH CIRCUIT
                                                                           OCT 02 2018
                                                                          MOLLY C DWYER, CLERK
                                                                          U S COURT OF APPEALS




  STATE OF HAWAII; et al.,                        No. 17-17168

                Plaintiffs - Appellees,
                                                  D.C. No. 1:17-cv-00050-DKW-KSC
    v.                                            U.S. District Court for Hawaii,
                                                  Honolulu
  DONALD J. TRUMP, in his official
  capacity as President of the United             MANDATE
  States; et al.,

                Defendants - Appellants.


         The judgment of this Court, entered August 10, 2018, takes effect this date.

         This constitutes the formal mandate of this Court issued pursuant to Rule

 4l (a) of the Federal Rules of Appellate Procedure.

                                                   FOR THE COURT:

                                                   MOLLY C. DWYER
                                                   CLERK OF COURT

                                                   By: Rebecca Lopez
                                                   Deputy Clerk
                                                   Ninth Circuit Rule 27-7




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